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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

 MONTANA DEMOCRATIC PARTY,                 CV-21-119-M-DWM
 MONTANANS FOR TESTER, MACEE
 PATRITTI,

                    Plaintiffs,
                                           NOTICE OF APPEARANCE
       v.
                                           OF COUNSEL
 CHRISTI JACOBSEN, in her official
 capacity as Montana Secretary of State,
 JEFFREY MANGAN, in his official ca-
 pacity as Montana Commissioner of
 Political Practices,

                    Defendants.
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      Defendants hereby notify this Court and the parties that Emily Jones, Special

Assistant Attorney General, enters her notice of appearance as counsel of record on

behalf of the State in this matter. Please submit all correspondence, pleadings, and

general mail to Ms. Jones via ECF or at the following address and email.

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      Brent Mead remains counsel of record for the State.

      DATED this 8th day of March, 2022.

                                      AUSTIN KNUDSEN
                                      Montana Attorney General
                                      KRISTIN HANSEN
                                       Lieutenant General
                                      DAVID M.S. DEWHIRST
                                       Solicitor General
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                               CERTIFICATE OF SERVICE

       I hereby certify that on this date, an accurate copy of the foregoing document

was served electronically through the Court’s CM/ECF system on registered coun-

sel.

Dated: March 8, 2022                                 /s/ Emily Jones
                                                     EMILY JONES




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